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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division


KANDISE LUCAS,et al,

                       Plaintiffs,

V.                                                     Civil Action No. 3:18cv402-HEH


HENRICO COUNTY PUBLIC
SCHOOL BOARD,et al,

                           Defendants.


                                  MEMORANDUM OPINION
     (Defendants' Motions to Dismiss and Plaintiffs' Motion to Disqualify Defense
                                              Counsel)

        This matter is before the Court on Defendants' five Motions to Dismiss^' filed

pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), as well as Plaintiffs'

Motion to Disqualify Defense Counsel(ECF No. 37). Plaintiffs' Complaint contains



'Defendants filed five separate Motions to Dismiss on August 1, 2018. Defendants Henrico County
Public School Board("HCPS Board"); Patrick Kinlaw, the Superintendent of Henrico County Public
Schools; Kirk Eggleston, the Principal of Colonial Trails Elementary; the Henrico County Police
Department("HCPD"); Humberto Cardounel, the Henrico County Police Chief; and Police Sergeant P.P.
Crooksjointly filed a Defendants' Motion to Dismiss for Lack of Subject Matter Jurisdiction ("County
12(b)(1) Mot.," ECF No. 17), HCPD,Cardounel, and Crooks jointly filed a Motion to Dismiss for
Failure to State a Claim ("HCPD-Cardounel-Crooks 12(b)(6) Mot.," ECF No. 20). HCPS Board, Kinlaw,
and Eggleston jointly filed a Defendants' Motion to Dismiss for Failure to State a Claim ("HCPS Board-
Kinlaw-Eggleston 12(b)(6) Mot.," ECF No. 23). Defendant L. Neil Steverson, a General District Court
Judge in Henrico County, also filed a Motion to Dismiss(ECF No. 25). Finally, Defendants Shannon
Taylor, the Henrico County Commonwealth's Attorney, and Tania Kregar, an Assistant Commonwealth's
Attorney,jointly filed their own Motion to Dismiss(ECF No. 27).

^ Defendants HCPS Board and HCPD contend that the Complaint misstates their names, which are,
respectively,"County School Board of Henrico County" and "Henrico County Police Division." {See
Mem. in Supp. HCPS Board-Kinlaw-Eggleston 12(b)(6) Mot., ECF No. 24; Mem. in Supp. HCPD-
Cardounel-Crooks 12(b)(6) Mot., ECF No. 21.) For consistency, the Court will use the parties' names as
stated in the Complaint.
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seven(7)counts that allege statutory violations of state and federal law as well as

violations ofthe United States and Virginia Constitutions.^ (Compl. 28-36,ECF No. 1.)

All parties have filed memoranda supporting their positions, and the Court will dispense

with oral argument because the facts and legal contentions have been adequately

presented to the Court. See E.D. Va. Local Civ. R. 7(J).

                                      1.      BACKGROUND


        As required by Rule 12(b)(6) ofthe Federal Rules of Civil Procedure, the Court

accepts as true Plaintiffs' well-pleaded allegations and views the Complaint in the light

most favorable to Plaintiffs because they are the non-moving party. T.G. Slater & Son,

Inc. V. Donald P. & Patricia A. Brennan LLC,385 F.3d 836, 841 (4th Cir. 2004)(citing

Mylan Labs., Inc. v. Matkari,1 F.3d 1130, 1134(4th Cir. 1993)). However, the Court is

not required to accept the Complaint's legal conclusions that are drawn from the facts,

nor must the Court accept as true unwarranted inferences or unreasonable conclusions

and arguments. E. Shore Mkts., Inc. v. J.D. Assocs. Ltd. P'ship., 213 F.3d 175, 180(4th

Cir. 2000)(citations omitted).

        So viewed, the Complaint establishes that Plaintiff Hunter-Davis experienced "a

homeless and transitional crisis," that resulted in her moving from Henrico County,


^ The Complaint contains two separate counts that are both labeled as Plaintiffs'"Second Cause of
Action." (Compl. 29, 34.) For clarity, the Court will refer to the latter ofthe two counts as "Count IIA"
ofthe Complaint. In Count I, Plaintiffs allege violations of Titles II and III ofthe Americans with
Disabilities Act("ADA"). (Id. 100-01.) Count II alleges violations of42 U.S.C. §§ 1983, 1985, and
1986. (Id. 102-21.) Count IIA alleges violations of the Individuals with Disabilities Education Act
and Section 504 ofthe Rehabilitation Act. (Id. 122-26.) Count III alleges a violation of42 U.S.C §
12203. (Id. 127-30.) Count IV alleges violations of Article I, sections 1, 2, 3, 8, 10, and 12 ofthe
Virginia Constitution. (Id. 131-32.) Count V alleges violations ofthe Virginia Human Rights Act
under Va. Code Ann. §§ 2.2-3900 and 3901. (Id. 1133.) Finally, Plaintiffs' Count VI alleges violations
of Va. Code Ann. §§18.2-499 and 500(A). (Id. HI 134-35.)
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Virginia to Charles City, Virginia, where she resided with her sister for an unspecified

period oftime. (Compl.      7-8,^ 8 n.7.) As a result ofthis move, a residency dispute

arose between Hunter-Davis and the HCPS Board because Hunter-Davis's minor son

("M.A.")continued to attend school at Colonial Trials Elementary("CTB" or "the

school") in Henrico County. (Id.     7-8, 45.) For a period oftime, Hunter-Davis

received assistance from HCPS in the form of gas cards, which financially supplemented

her ability to transport M.A. between Charles City and Henrico County for school. (Id. ^

43.) However, when Hunter-Davis could no longer provide reliable transportation to get

M.A. to and from school, a "determination [was made]that it was in the child's best

interest to attend school in Charles City ...." (Id. fl 43^8.)

       On January 31, 2018, Hunter-Davis, along with Plaintiffs Lucas and Crawford,

who the Complaint describes as "advocates," challenged M.A.'s withdrawal from CTE

by staging a "sit-in" at the school. (Id.fl 66-70.) As a result oftheir actions. Plaintiffs

received summons for trespass and were later convicted oftrespassing on school

property, in violation of Va. Code Ann. § 18.2-128. (Id.     76-79,90.) A brief

summation ofthe events that preceded their convictions follows.

A. Events at Colonial Trails Elementary

       On January 30, 2018,Plaintiffs went to CTE where Defendant Eggleston, the

school's principal, informed them that M.A. would be withdrawn from the school per

"the directive ofInterim State Superintendent Steven Constantino ...." (Id.       46-48.)

The Complaint characterizes this decision as "unlawful" and "in contravention ofthe
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McKinney-Vento Act.'"^ {Id. H 48.) In response, Lucas emailed a "Due Process

complaint" to Constantino, which the Complaint concludes placed M.A.'s case in a

"pendency status" that required that he "remain in his ... current educational placement."

{Id.fl 50-51, Ex. 2.) Nevertheless, M.A. was withdrawn from the school on January 30,

2018. {Id.^Sl.)

       Lucas informed the school's staff that the "withdrawal (force-out) ofthe child was

a violation of the child's civil rights that she believed to be racially and discriminatorily

motivated." {Id.f 53.) "Bggleston became extremely agitated by Lucas'[s] challenge of

institutional racism and discrimination" and he asked that she leave the school. {Id. ^ 55.)

When Plaintiffs refused to leave, Bggleston contacted the police. {Id. H 57.)

        After the police arrived,"[t]he parties continued to assert that to withdraw the

child from the school was illegal, and Lucas[] continued to assert that the failure to

respect the rights ofthe child was discriminatorily motivated ...." {Id. H 60.)

Thereafter, the parties informed school staff and the police that they would return on the

following day "to re-enroll the child back into the school." {Id. 161.)

        On the following day, January 31, 2018,Plaintiffs returned to the school, and

Bggleston "once again demanded that they leave." {Id.^ 66.) However,"[t]he advocates

informed [Bggleston] that they were there to protect the []civil rights ofthis little Black

child and committed to return every day until he was re-enrolled." ^ {Id.) They also


 The Court need not accept Plaintiffs' repeated legal conclusions that the actions of various Defendants
were "unlawful" or "in contravention ofthe McKinney-Vento Act."

^ Attached to the Complaint as Exhibit 9 is Eggleston's written recollection ofthe events of January 31,
2018. (Compl. Ex. 9.) The exhibit provides additional details regarding Lucas's statements to the
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informed Eggleston that they had a "federal right" to be on the school's property. {Id.)

       Lucas announced via Facebook that Plaintiffs were engaged in a "sit-in" at CTE.

{Id. H 70.) Subsequently, a "lockdown" ofthe school ensued. {Id. fl 71-72.) Thereafter,

"Eggleston went to the magistrate to swear out the summons for trespass, citing the

'staged lockdown' to justify the perception of the parties as 'disruptions' and threats to

the students and the staff." {Id.f 74.) Henrico County Police then served Crawford and

Hunter-Davis with misdemeanor trespass summonses while they were still in the school's

parking lot. {Id. H 76.) Lucas, who had left the school before the police could serve her

with a summons, was served later that evening. {Id. 179.)

B. State Court Proceedings

       Prior to being tried in Henrico County General District Court, Plaintiffs attempted

to challenge the validity ofthe trespass summonses. Specifically, Lucas submitted a

complaint to Defendant "Shannon Taylor requesting that she investigate the unlawfully

obtained summons secured under false pretenses by [the] HCPS School Board and

Eggleston," and "requesting that the case not be prosecuted." {Id.^ 80.) According to

the Complaint, the Commonwealth's Attorney did not respond to either request. {Id.)

Lucas also sent a complaint to Defendant Police Chief Cardounel, based upon his

"enforcing an unlawfully obtained summons ...." {Id. t 81.)

       Despite these efforts, Lucas and Crawford were tried in Henrico County General


school's staff. At one point, Lucas asked Eggleston,"How does it feel to be a white supremacist man
picking on little black boys and denying them their education[?]" (Compl. Ex.9 at 1.) Lucas also told
another school employee, who was an African-American female,"You have sold out to the white man.
You have sold out. You should be ashamed of yourself." {Id.)
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District Court before the Honorable L. Neil Steverson.^ (Id. K 21.) The Complaint states

that,"Judge Steverson and Tania Kregar, who was in possession of exculpatory evidence,

worked in concert to ... restrict the defendants from providing context and producing

evidence, for the record, to support the bonafide claim ofright defense." (Id. 85.) The

Complaint also states that Police Sgt. Crooks, who responded to CTE on January 30,

2018, perjured himself during Plaintiffs' trial and that the Commonwealth "did not notify

the court or raise an objection as is required." (Id. fl 61, 85-86.) Finally,"the

Advocates requested that the Commonwealth file a Motion to Vacate [their convictions]

by 6/4/18 at Noon, based on the suppression of exculpatory evidence, subordination of

perjury, and selective prosecution on the basis of race ...." (Id. 196)(citation omitted).

        Ultimately, Plaintiffs were convicted oftrespassing on school property in violation

of Va. Code Ann. § 18.2-128. (Id. T| 90; Mem. in Supp. County 12(b)(1) Mot. Exs. 1,3,

4.) As a condition oftheir suspended sentences, the court ordered that Plaintiffs "be

banned from Henrico County Public School property, staff, and students indefinitely."

(Compl.^ 90.) Plaintiffs have appealed their convictions to the Circuit Court of Henrico

County, and a trial has been set for September 26, 2018. (Id.f 93; Mem. in Supp.

County 12(b)(1) Mot. Ex. 2.)

C. Federal Court Proceedings and Nature of Relief Sought

        In addition to appealing their convictions through the state court system. Plaintiffs

filed the current matter in this Court, seeking a combination of equitable relief and



^ The Complaint is silent as to whether Judge Steverson also presided over the separate trial of Plaintiff
Hunter-Davis.
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 damages.^ Among other things, Plaintiffs seek an injunction to limit the condition of

 their suspended sentences, asking that "Plaintiffs[] not be banned and/or prohibited from

 engaging in their federally protected roles and responsibilities in Henrico County Public

 Schools ... (Compl. H 141.) Plaintiffs also seek injunctions requiring Defendants to

 comply with IDEA and other federal laws, prohibiting retaliation against Plaintiffs, and

 ordering the HCPD to refrain from future violations ofPlaintiffs' constitutional rights,

 {Id.fl 140-44.) Finally, Plaintiffs seek $10,000,000.00 in compensatory and punitive

 damages from the HOPS Board. {Id. 40.)

                               11.     STANDARD OF REVIEW


         A motion made pursuant to Fed. R. Civ. P. 12(b)(1) challenges the court's

 jurisdiction over the subject matter of a complaint. Such challenges can be facial,

 asserting that the facts as pled fail to establish jurisdiction, or factual, disputing the

 pleadings themselves and arguing that other facts demonstrate that no jurisdiction exists.

 Lufti V. United States, 527 F. App'x 236, 241 (4th Cir. 2013)(citing Kerns v. United

 States, 585 F.3d 187, 192-93(4th Cir. 2009). If a defendant raises a factual challenge,

 "the district court may then go beyond the allegations ofthe complaint and resolve the

 jurisdictional facts in dispute by considering evidence outside the pleadings, such as

 affidavits." United States ex rel. Vuyyuru v. Jadhav, 555 F.3d 337, 348 (4th Cir. 2009)

 (citation omitted). Consideration of evidence outside ofthe pleadings on a 12(b)(1)



'Plaintiff Hunter-Davis has also filed a separate IDEA Complaint with this Court based on the same
circumstances that are at issue in the current matter. {See 3:18cv319-MHL)(filed on May 14,2018).
Plaintiffs' Complaint in the current matter was filed on June 11, 2018.
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motion does not necessarily convert the motion to one for summary judgment. Evans v.

B.F. Perkins Co., 166 F.3d 642,647(4th Cir. 1999)(citation omitted); McBurney v.

Cuccinelli, 616 F.3d 393,409(4th Cir. 2010)(Agee, J., concurring in part and dissenting

in part)(motions under Rule 12(b)(1) are not restricted by Rule 12(d)). Regardless of

whether the challenge is facial or factual, the plaintiff bears the burden of proof to

preserve jurisdiction. Jadhav, 555 F.3d at 348; Richmond, Fredericksburg & Potomac

R.R. Co. V. United States, 945 F.2d 765, 768 (4th Cir. 1991).

       Meanwhile,"[a] motion to dismiss under Rule 12(b)(6) tests the sufficiency of a

complaint; importantly, it does not resolve contests surrounding the facts, the merits of a

claim, or the applicability of defenses." Republican Party ofN.C. v. Martin, 980 F.2d

943,952(4th Cir. 1992)(citation omitted). To survive a Rule 12(b)(6) challenge, a

complaint must contain sufficient factual information to "state a claim to relief that is

plausible on its face." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570(2007); see

Fed. R. Civ. P. 8(a)(2). To do so, it must contain '"a short and plain statement ofthe

claim showing that the pleader is entitled to relief,' in order to 'give the defendant fair

notice of what the ... claim is and the grounds upon which it rests.'" Id. at 555 (quoting

Conley v. Gibson, 355 U.S. 41,47(1957)). Mere labels and conclusions declaring that

the plaintiff is entitled to relief are not enough. Id. Thus,the "[f]actual allegations must

be enough to raise a right to relief above the speculative level" to a level that is "plausible

on its face" rather than merely "conceivable." Id. at 555, 570 (citations omitted). In

considering such a motion, a plaintiffs well-pleaded allegations are taken as true and the

complaint is viewed in the light most favorable to the plaintiff. T.G. Slater & Son,Inc.,
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385 F.3d at 841 (citation omitted). Legal conclusions enjoy no such deference. Ashcroft

V. Iqbal, 556 U.S. 662,678(2009).

                                   III.   DISCUSSION


       Even viewing Plaintiffs' allegations in the Complaint in their favor, as the Court

must. Plaintiffs' Complaint cannot survive initial review for a variety ofreasons. First,

with respect to Counts I, II, and IIA of the Complaint, Plaintiffs lack Article III standing

to bring those claims. In addition, Plaintiff Hunter-Davis cannot bring her own IDEA

claim under Count IIA because her claims are duplicative of another IDEA action

currently pending in this Court. Second, to the extent that Plaintiffs have standing to

bring their own claims under Count II, they are barred by the Rooker-Feldman doctrine

and Younger Abstention. Third, Count III must be dismissed because it fails to state a

claim under 42 U.S.C. § 12203. Finally, each ofthe aforementioned Counts represent the

totality of Plaintiffs' federal claims in this case. Therefore, because Counts I-III ofthe

Complaint must be dismissed, the Court will decline to entertain Plaintiffs' state law

claims in Counts IV-VI.


1. Plaintiffs Lack Standing to Bring Counts I, II, and IIA

       Plaintiffs state that they brought "this complaint for violations of their individual

and associated rights ...." (Compl. 2.) However, Defendants challenge Plaintiffs'

standing to bring these three claims that properly reside with Hunter-Davis's minor son,

M.A., who is not a party to this case. (Mem.in Supp. County Defendants' 12(b)(1) Mot.

10-15.) Specifically, Defendants argue that Plaintiffs' claims under Titles II and III of

the ADA (Count I), 42 U.S.C §§ 1983, 1985, and 1986(Count II), and Section 504 of the
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Rehabilitation Act and the IDEA (Count IIA) must be dismissed to the extent that each

claim is derived from injuries that M.A. suffered. {Id.) The Court agrees.

A. Standing

      "[Sjtanding to maintain a suit implicates the court's jurisdiction to entertain a

suit," and therefore, standing is "a threshold question to be resolved before the merits."

BeyondSys. v. Kraft Foods, Inc., Ill F.3d 712, 715-16 (4th Cir. 2015)(citing Steel Co.

V. Citizensfor a Better Env't, 523 U.S. 83, 88-102(1998)). "At the pleading stage,

general factual allegations ofinjury resulting from the defendant's conduct may suffice,

for on a motion to dismiss [courts]'presum[e] that general allegations embrace those

specific facts that are necessary to support the claim.'" Lujan v. Def of Wildlife, 504

U.S. 555, 561 (1992)(quoting          v. Nat'l Wildlife Fed'n,497 U.S. 871, 889(1990)).

       The doctrine of standing is derived from Article III ofthe Constitution, which

requires that federal courts limit their jurisdiction to actual cases and controversies. To

show that a case or controversy exists for purposes of Article III standing, a plaintiff must

show:(1)he has suffered an injury-in-fact(as opposed to a hypothetical injury),(2)the

injury was caused by the complained-of conduct ofthe defendant, and(3)the injury is

likely to be redressed by a court's favorable decision. Steel Co., 523 U.S. at 102-04.

While the Supreme Court has described these three requirements as the "irreducible

constitutional minimum of standing," id. at 103 (quoting De/ of Wildlife, 504 U.S. at

560), the Supreme Court has also recognized that "there may be circumstances where it is

necessary to grant a third-party standing to assert the rights of another," Kowalski v.

Tesmer, 543 U.S. 125, 129-30(2004). The Court has limited so-called "third-party

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standing," by requiring that "a party seeking third-party standing make two additional

showings." Id. at 130. To establish third-party standing, a plaintiff must also show "a

close relationship between herself and the person whose right she seeks to assert" and "a

hindrance to the third party's ability to protect his or her own interests." Freilich v.

Upper Chesapeake Health,Inc., 313 F.3d 205,215 (4th Cir. 2002)(citing Powers v.

Ohio,499 U.S. 400,410-11 (1991)).

B. Plaintiffs Lack Standing on Count I(Titles II and III of the ADA)

       The Complaint alleges that "Henrico County Public Schools and Principal

Eggleston ...'force[d]' the withdraw[al] ofthe student from CTE ..." in violation of

Title II ofthe ADA,42 U.S.C. § 12132. (Compl.1101.) Count I also alleges a violation

of Title III ofthe ADA;specifically, that "the withdrawal of M.A.from school arises out

of...[the] refusal to provide appropriate accommodation for the family under IDEA in

order to deny access and accommodation to his [M.A.'s] enjoyment of Colonial Trails

Elementary School in violation of42 U.S.C.[§] 12182." {Id. H 100.)

       Based upon the plain language of the Complaint, the injury-in-fact that is the basis

of both allegations—^the withdrawal of M.A.from Colonial Trails Elementary—^was

suffered by M.A. and not by Plaintiffs. Even viewing these allegations generally. Count I

fails to establish that Plaintiffs personally suffered discrimination based upon a disability.

See Def. of Wildlife, 504 U.S. at 563("But the 'injury in fact' test requires more than an

injury to a cognizable interest. It requires that the party seeking review be himself among

the injured.")(quoting Sierra Club v. Morton,405 U.S. 727,734-35 (1972)).



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        Furthermore, Plaintiffs fail to plead facts that establish their ability to pursue ADA

claims based upon third-party standing. As "advocates" for the family, Plaintiffs Lucas

and Crawford do not hold the type of close relationship to M.A. that enables them to sue

on his behalf. While Hunter-Davis arguably holds such a relationship as M.A.'s parent,

she is precluded from bringing a third-party claim on his behalf in a pro se status. See

Myers v. Loudoun Cty. Pub. Sch., 418 F.3d 395,401 (4th Cir. 2005)(stating that the

Fourth Circuit "join[s] the vast majority of our sister circuits in holding that non-attorney

parents generally may not litigate the claims oftheir minor children in federal court.")

(citations omitted); see also Augustine ex ret. M.A. v. Winchester Pub. Sch. Dist., No.

5:13cv25, 2013 U.S. Dist. LEXIS 132637, at *4(W.D. Va. Sept. 17, 2013)(affirming the

magistrate judge's report and recommendation and dismissing the complaint because,

among other reasons, plaintiff could not bring a pro se action on behalf oftwo minors).

        Therefore, because Count 1 fails to establish that Plaintiffs suffered an injury-in-

fact, and because Plaintiffs cannot bring claims on M.A.'s behalf. Count I must be

dismissed for lack of standing.^


® While the Court dismisses Count I for lack of Article III standing, the Court also notes that Plaintiffs
have failed to allege that M.A. was disabled and that he was discriminated against on the basis of a
disability—elements which Plaintiffs must sufficiently plead for Count I to survive dismissal under Rule
12(b)(6). See Spencer v. Barley, 278 F. App'x. 254, 261 (4th Cir. 2008)(stating that claims under 42
U.S.C § 12132 or Section 504 ofthe Rehabilitation Act both require pleading "(1)[the plaintiff] has a
disability;(2)he is otherwise qualified to receive the benefits ofa public service, program, or activity;
and (3)he was 'excluded from participation in or denied the benefits of such service, program, or activity,
or otherwise discriminated against, on the basis of h[is] disability.'")(quoting Constantine v. Rectors and
Visitors ofGeorge Mason Univ., 411 F.3d 474,498(4th Cir. 2005)). In the current matter, the Complaint
does not definitively state that M.A. was disabled. At most. Plaintiffs' Complaint states that M.A."was
referred for 'evaluations ofa suspected disabW'ity under IDEA,'...." (Compl.17)(emphasis added).
        In addition. Title III of the ADA is inapplicable in the current matter. Title III of the ADA
provides that "[n]o individual shall be discriminated against on the basis of disability in the fiill and equal
enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any place of

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C. Plaintiffs Lack Standing on Count II(42 U.S.C. §§ 1983,1985, and 1986)

        In Count II ofthe Complaint,"Plaintiffs allege that the removal of M.A.from

Colonial Trails Elementary School and the denial of Toni [Hunter-]Davis's federally

protected status was motivated by race and denied him of his Fourteenth Amendment

Protection in violation of42 U.S.C.[§] 1983." (Compl. U 103.) To the extent that

Plaintiffs claim that Defendants' combined actions violated M.A.'s constitutional rights

under the Equal Protection Clause, Plaintiffs lack standing to assert such a claim for the

same reasons stated in the previous section ofthis Memorandum Opinion. Consequently,

Count II ofthe Complaint is dismissed to the extent that it seeks to bring a claim that

properly belongs to M.A.^

D. Plaintiffs Lack Standing on Count IIA (Section 504 of the Rehabilitation and
IDEA)

        Regarding Plaintiffs' claims under the IDEA,the Supreme Court has stated,

''Parents enjoy rights under IDEA; and they are, as a result, entitled to prosecute IDEA

claims on their own behalf." Winkelman v. Parma City Sch. Dist., 550 U.S. 516, 535



public accommodation by any person who owns, leases(or leases to), or operates a place of public
accommodation." 42 U.S.C. § 12182. "The term 'place of public accommodation,' however, applies
only to private entities providing public accommodations, not to public entities. Costello v. Univ. of
N.C. at Greensboro., 394 F. Supp. 2d 752, 759(M.D. N.C. 2005)(citations omitted). Here, Colonial
Trails Elementary School is a public entity, not a private entity providing a public accommodation. See
id. at 760(dismissing plaintiffs claim under 42 U.S.C. § 12182 because it was brought against the
University of North Carolina at Greensboro, a public university); see also Sandison v. Michigan High
Sch. Athletic Ass'n, Inc.., 64 F.3d 1026, 1036(6th Cir. 1995)(holding that Title III did not apply to
discrimination on public school grounds or in public parks). Therefore, in addition to the lack of Article
III standing. Plaintiffs' Count I must also be dismissed because it fails to sufficiently allege claims under
Titles II and III ofthe ADA.

^ To the extent that Plaintiffs allege that their personal constitutional rights have been violated. Plaintiffs'
claims must likewise be dismissed for reasons discussed in Section (III)(2) ofthis Memorandum Opinion.


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(2007)(emphasis added). While Hunter-Davis, as M.A.'s parent, can bring her own pro

se action under the IDEA,the Court is aware of no precedent that enables educational

advocates such as Lucas and Crawford to bring their own private causes of action—^nor

have they brought any supporting authority to the Court's attention. To the contrary,

"[t]he IDEA does not... establish a private right of action for special-education teachers

or other advocates for disabled students." J. W. v. Johnston Cty. Bd. ofEduc., No.

5:1 Icv707-D,2014 U.S. Dist. LEXIS 134342, at *20(E.D. N.C. Sept. 24, 2014)

(citations omitted). Accordingly, Lucas and Crawford's claims under the IDEA must be

dismissed for lack of standing.

        To the extent that Hunter-Davis seeks to bring her own IDEA claim, she is

likewise precluded from doing so because she has already filed a duplicative IDEA action

in this Court. See Hunter-Davis v. Henrico County School Board, 3:18cv319-MHL

(filed on May 14, 2018). Cf Fox Group, Inc. v. Cree, Inc., 749 F. Supp. 2d 410,416

(E.D. Va. 2010)("[W]hen two identical actions are pending at the same time in two

federal courts, the first-filed action is generally preferred,'even if it is a request for a

declaratory judgment.'")(quoting Holmes Group, Inc. v. Hamilton Beach/Proctor Silex,

Inc., 249 F. Supp. 2d 12, 15(D. Mass 2002)). Because the current matter was filed on

June 11, 2018, after Hunter-Davis filed her other IDEA complaint with this Court, and

because that suit arises out ofthe same circumstances as this case,judicial economy

dictates that Hunter-Davis's duplicative IDEA claim in this case be dismissed. Id.


  The dismissal of Hunter-Davis's IDEA claim in this case does not address the merits ofthe claims that
she raises in her other IDEA suit which is still before the Court.


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("The policy underlying the first-to-flle rule is the avoidance of duplicative litigation and

the conservation ofjudicial resources.")(quoting Samsung Elecs. Co. v. Rabius, Inc., 386

F. Supp. 2d 708, 724(E.D. Va. 2005))."

2. Rooker-Feldman and Younger Abstention Doctrines Bar Plaintiffs' Individual
Claims under Count II


         In Count II ofthe Complaint, Plaintiffs allege that Defendants entered into

multiple conspiracies in order to unlawfully serve, prosecute, and ultimately convict

Plaintiffs of trespassing on school grounds in violation of Va. Code Ann. § 18.2-128.

Plaintiffs allege that Defendants' actions violated their constitutional rights under the

First, Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments. However, as Plaintiffs'

prayer for relief makes clear, the purpose oftheir claims under Count II of the Complaint

is to vacate a condition oftheir suspended sentences. Specifically, Plaintiffs ask that this

Court enter an order to modify the sentence imposed by Judge Steverson, such that

"Plaintiffs [] not be banned and/or prohibited from engaging in their federally protected

roles and responsibilities in the Henrico County Public Schools ...." (Compl. H 141.) In

effect. Plaintiffs urge this Court to impermissibly review the providence of the state

court's judgment.

         The Rooker-Feldman doctrine prevents lower federal courts from hearing cases




"Plaintiffs have also failed to allege facts that plausibly state a claim that M.A. suffers from a disability
and that he was discriminated against on the basis ofthis disability. See 29 U.S.C. § 794("No otherwise
qualified individual with a disability in the United States ... shall, solely by reason of her or his
disability, be excluded from the participation in, be denied the benefits of, or be subjected to
discrimination under any program or activity receiving Federal financial assistance...."). Therefore,
Plaintiffs' claims under Section 504 ofthe Rehabilitation Act must be dismissed for failure to state a
claim.


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where a plaintiff, under the auspice of bringing a constitutional claim, seeks "review of,

or relief from, a state action or proceeding that is essentially judicial in nature." Suarez

Corp. Indus, v. McGraw, 125 F.3d 222, 228(4th Cir. 1997). See Rooker v. Fidelity Trust

Co., 263 U.S.413 (1923); District ofColumbia Ct. App. v. Feldman,460 U.S. 462

(1983). The doctrine applies where a plaintiff brings a claim in federal court seeking

review of a matter adjudicated by a state court or inextricably intertwined with the state

court's judgment, or where the plaintiff otherwise had the opportunity to raise that claim

during state proceedings. See Feldman,460 U.S. at 482 n.l6. "[I]f'in order to grant the

federal plaintiff the relief sought, the federal court must determine that the [state] court

judgment was erroneously entered or must take action that would render the judgment

ineffectual,' Rooker-Feldman is implicated." Jordahl v. Democratic Party, 122 F.3d

192, 202(4th Cir. 1997)(quoting Ernst v. City of Youth Servs., 108 F.3d 486,491 (3d

Cir. 1997))(also citing Charchenko v. City ofStillwater, 47 F.3d 981, 983(8th Cir.

1995)).

       Here, as the plain language ofthe Complaint makes clear, the purpose of

Plaintiffs' claims is to modify an operative portion ofthe state court'sjudgment. Thus, in

accordance with the Rooker-Feldman doctrine, this Court cannot entertain Plaintiffs'

claims under Count II of the Complaint.

       In addition, this Court is also precluded from considering Plaintiffs' claims under

Count II based upon the closely allied doctrine ofjudicial restraint articulated by the

Supreme Court in Younger v. Harris, 401 U.S. 37(1971), a similar albeit distinct doctrine

from Rooker-Feldman. In Younger, the Supreme Court stated that "courts of equity

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should not act, and particularly should not act to restrain a criminal prosecution, when the

moving party has an adequate remedy at law and will not suffer irreparable injury if

denied equitable relief." Younger,401 U.S. at 43-44. Younger Abstention requires a

federal court to abstain from interfering in a state proceeding (even if there is

jurisdiction), ifthere is:

       (I)an ongoing state judicial proceeding, instituted prior to any substantial
       progress in the federal proceeding; that(2)implicates important,
       substantial, or vital state interests; and(3)provides an adequate opportunity
       for the plaintiff to raise the federal constitutional claim advanced in the
       federal lawsuit.


Laurel Sand & Gravel, Inc. v. Wilson, 519 F.3d 156, 165 (4th Cir. 2008)(quoting Moore

V. City ofAsheville, 396 F.3d 385, 390(4th Cir. 2005)).

       Each ofthe above factors are squarely met in the immediate case. First, Plaintiffs'

state court cases were decided and appealed prior to the filing oftheir action in this

Court, and therefore, their criminal cases are currently pending trial in Henrico County

Circuit Court. Second, the state judicial system ofthe Commonwealth of Virginia has a

vital interest in adjudicating violations of state statues, such as the school trespass statute

that is in question here. Finally, because Plaintiffs' case will be retried in the circuit

court. Plaintiffs have an adequate opportunity to argue the legal contentions that they

seek to adjudicate here. While Plaintiffs argue that exceptions to Younger are present in

the current case. Plaintiffs' lengthy arguments are not persuasive.

       Because their criminal trials are still pending in Henrico County Circuit Court, this

Court is precluded from hearing Plaintiffs' claims in Count II based upon the application

of both the Rooker-Feldman and Younger Abstention doctrines. Therefore, Count II will

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be dismissed.

3. Plaintiffs' Count III Fails to State a Claim under Title V of the ADA

       Plaintiffs' Count III alleges violations of Title V ofthe ADA. In addition to

reaffirming all of Plaintiffs' previous allegations, Count III alleges primarily that

Principal Eggleston "did contact police and swear out an unlawful summons in retaliation

for the advocates attempting to enforce the rights and protections of M.A. under 42

U.S.C.[§] 12203       "(Compl.^ 129.) Count III also alleges that the withdrawal of

M.A. from the school was "retaliation for the advocates attempts to enforce his rights and

protections ...." {Id. 1130.)

       Section 12203 "bars employers from retaliating against employees for seeking [the

ADA's] statutory protections." Adams v. Anne Arundel Cty. Pub. Sch., 789 F.3d 422,

430(4th Cir. 2015). Here, it is clear that Principal Eggleston is not an "employer," nor

are any ofthe Plaintiffs alleged to be "employees" of HCPS. Therefore, Plaintiffs' Count

III fails to state a plausible claim on its face and must be dismissed.

4. The Court Declines to Exercise Supplemental Jurisdiction over Plaintiffs'
Remaining State Claims

       Having dismissed Plaintiffs' federal claims for reasons discussed supra, this Court

need not reach Plaintiffs' remaining Counts IV-VI. See 28 U.S.C. § 1367(c)(3)("District

Courts may decline to exercise supplemental jurisdiction over a claim ... [where] the

district court has dismissed all claims over which it has original jurisdiction .., .").

Because Plaintiffs' remaining claims arise under the laws and constitution ofthe

Commonwealth of Virginia, the Court will not exercise supplemental jurisdiction to


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resolve them.


                                 IV.    CONCLUSION


      For all these reasons, Plaintiffs' Complaint will be dismissed in its entirety.

Plaintiffs' Motion to Disqualify Defense Counsel will therefore be denied as moot. Also,

Defendants' numerous motions raise alternate theories of dismissal that are not addressed

by this Memorandum Opinion. In the interest of deciding this case on the narrowest

grounds possible, to the extent that this Memorandum Opinion has not addressed

Defendants' alternate theories, they will be denied as moot.

      An appropriate Order will accompany this Memorandum Opinion.




                                                  Henry E. Hudson
                                                  Senior United States District Judge
Datei^g.pT.
Richmond, VA




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